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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                                 8:16CR77
      vs.
                                                         ORDER OF DETENTION
LEE BENSON,
                      Defendant.


       The defendant was previously released on conditions, but violated the terms of
that release by failing to submit to scheduled drug testing and using illegal drugs. Based
on the evidence presented, the court finds the defendant cannot be trusted to comply with
the conditions of pretrial supervision and, as such, defendant’s release would pose a risk
of harm to the community and a risk of flight.

       Accordingly,

       IT IS ORDERED:

       The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable,
from persons awaiting or serving sentences or held in custody pending appeal. The
defendant must be afforded a reasonable opportunity to consult privately with defense
counsel. On order of United States Court or on request of an attorney for the
Government, the person in charge of the corrections facility must deliver the defendant to
the United States marshal for a court appearance.

       August 29, 2016.

                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
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